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                                                                                       Via ECF


 June 20, 2018


 Hon. J. Paul Oetken
 United States District Court for the Southern
 District of New York
 40 Foley Square
 New York, NY 10007

 Re:        Craig v. UMG Recordings, Inc., et al., Case No. 16 Civ. 5439 (JPO)

 Dear Judge Oetken:

 We represent Defendants UMG Recordings, Inc. (“UMG”), Estate of Riley B. King (“Estate”) and
 Kingsid Ventures , Ltd. (“Kingsid” and together with UMG and Estate, “Defendants”).

 We write in response to Plaintiff’s June 20, 2018 letter requesting an extension of the deadline
 for Plaintiff to respond to Defendants’ motion for sanctions (Dkt. No. 74), and pursuant to Rule
 3.C. of Your Honor’s Individual Practices to request that Defendants be given an extension of
 their deadline to file a reply in support of their motion for sanctions.

 Plaintiff’s counsel neglected to disclose to the Court that Defendants agreed to extend the
 deadline for Plaintiff to respond to Defendants’ motion for sanctions by one week to July 5,
 2018, on the condition that Plaintiff similarly agree to extend Defendants’ deadline to file a
 reply by one week to July 19, 2018.

 Plaintiff’s counsel did not respond to Defendants’ proposal. Plaintiff is now requesting a two and
 a half week extension of his deadline to respond to Defendants’ motion for sanctions. Dkt. No.
 74. Should Plaintiff’s request be granted, in whole or in part, Defendants respectfully request
 that Defendants be given an extension of equal time to file a reply brief in support of their motion
 for sanctions.

 This is Defendants’ first request for an extension of time to file a reply brief in support of their
 motion for sanctions. Plaintiff did not consent to this extension.

 We thank the Court for its consideration of this matter.
  Respectfully submitted,
/s/ Linna Chen
  Linna Chen
  Attorney At Law

 cc:           Richard Liebowitz, Esq. (via ECF)


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